851 F.2d 356Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dennis R. GLOVER, Plaintiff-Appellant,v.J.A. JONES CONSTRUCTION COMPANY, Defendant-Appellee.
    No. 88-3995.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 31, 1988.Decided:  July 5, 1988.
    
      Dennis R. Glover, appellant pro se.
      Charles Daniel Barrett, Margaret Ann Anderson (Womble, Carlyle, Sandridge &amp; Rice), for appellee.
      Before K.K. HALL, SPROUSE and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Dennis R. Glover noted this appeal outside the 30-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.   See Shah v. Hutto, 722 F.2d 1167 (4th Cir.1983) (en banc), cert. denied, 466 U.S. 975 (1984).  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal arguments are adequately presented in the materials before the Court and oral argument would not significantly aid the decisional process.
    
    
      2
      DISMISSED.
    
    